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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       ) Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,1                                    )
                                                                       ) Case No. 19-34054 (SGJ)
                      Reorganized Debtor.                              )
                                                                       )
                                                                       )
In re:                                                                 )
                                                                       )
NEXPOINT ADVISORS, L.P., et al.,                                       )
                                                                       )
                                                                       )
                                                                       )
                                                                       ) Case No: 3:22-cv-02170-S
                                                                       )
                            Appellants,                                )
vs.                                                                    )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )
                                                                       )
                             Appellee.                                 )
                                                                       )

                                      CERTIFICATE OF SERVICE

      I, Aljaira Duarte, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the above-captioned
case.

        On January 20, 2023, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:



                                          (Continued on Next Page)


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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      Highland Capital Management, L.P.'s Unopposed Motion for Extension of Time to
       File Response Brief [Docket No. 7]


Dated: January 23, 2023
                                           /s/ Aljaira Duarte
                                           Aljaira Duarte
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245




                                          2
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                          EXHIBIT A
             Case 3:22-cv-02170-S Document 9 Exhibit
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                                                           Appeals Service List
                                                         Served via Electronic Mail


               Description                    CreditorName              CreditorNoticeName                        Email
 Financial Advisor to Official Committee
 of Unsecured Creditors                  FTI Consulting            Earnestiena Cheng              Earnestiena.Cheng@fticonsulting.com
                                         Hayward & Associates      Melissa S. Hayward, Zachery Z. MHayward@HaywardFirm.com;
 Counsel for the Debtor                  PLLC                      Annable                        ZAnnable@HaywardFirm.com
 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund, NexPoint Capital Munsch Hardt Kopf &          Davor Rukavina, Esq., Julian P. drukavina@munsch.com;
 Inc. and James Dondero                  Harr, P.C.                Vasek, Esq.                     jvasek@munsch.com
                                                                                                   mclemente@sidley.com;
                                                                   Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
 Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
 Unsecured Creditors                       Sidley Austin LLP       Dennis M. Twomey                dtwomey@sidley.com
 Counsel for Official Committee of                                                                 preid@sidley.com;
 Unsecured Creditors, Marc. S.                                     Penny P. Reid, Paige Holden     pmontgomery@sidley.com;
 Kirschner, as Litigation Trustee of the                           Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Highland Litigation Sub-Trust             Sidley Austin LLP       Chandler M. Rognes              crognes@sidley.com
 Bankruptcy Judge                          US Bankruptcy Court     Hon. Stacey G Jernigan          sgj_settings@txnb.uscourts.gov




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